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 1   Thomas Retzlaff
     PO Box 46424
 2   Phoenix, AZ 85063-6424
     P: (210) 317-9800
 3
     Email: retzlaff@texas.net
 4
     Defendant, Pro se
 5

 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7                                   DISTRICT OF ARIZONA
                                       PHOENIX DIVISION
 8

 9
     JASON LEE VAN DYKE,                          Case No.: 2:18-cv-04003-JJT
10
                   Plaintiff,
11
     vs.                                          RETZLAFF’S AMENDED ANTI-SLAPP
12                                                MOTION TO DISMISS AND SUPPORTING
     THOMAS CHRISTOPHER RETZLAFF,                 MEMORANDUM
13
                   Defendant.                      -- ORAL ARGUMENT REQUESTED --
14

15

16

17

18          Defendant, Tom Retzlaff, asks the Court to dismiss plaintiff’s petition and
19
     request for injunction pursuant to the anti-SLAPP statute under the Texas Citizens
20

21   Participation Act (codified in Texas Civil Practice & Remedies Code chapter 27).
22
     Retzlaff seeks $1 million in attorney’s fees and mandatory sanctions.
23

24

25

26

27

28


            DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 1
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 1                                         A. INTRODUCTION
 2
            Plaintiff is Jason Lee Van Dyke; defendant is Tom Retzlaff. In his original
 3

 4   petition, Van Dyke sued Retzlaff for injunctive relief. (See ECF Dkt. #1-1.) Van
 5
     Dyke, who is an attorney licensed in Colorado, Georgia, Texas, and Washington, D.C.
 6
     is also suing Retzlaff on behalf of two other adult individuals who do not live in his
 7

 8   household (Susan L. Van Dyke and Joshua L. Van Dyke).
 9

10


                                       II. BACKGROUND FACTS
11

12

13
            On November 8, 2018, Van Dyke filed (on behalf of himself and two other adult

14   non-household members) a lawsuit seeking an injunction against harassment against
15
     Retzlaff in the Maricopa County Superior Court. (Dkt. #1-1.)
16

17          Retzlaff then filed Notice of Removal with the U.S. District Court for the
18
     District of Arizona – Phoenix Division. (Dkt. # 1.)
19
            As stated above, Jason Van Dyke is an attorney licensed in Texas. In March
20

21   2017 he had been hired as an Assistant District Attorney in Victoria County, Texas. 1
22
     He is also a leader within a violent white supremacist group called the Proud Boys. As
23

24

25
            1
26                   Van Dyke lost this job on March 21, 2017, allegedly based upon a complaint Retzlaff
     filed with Steve Tyler, District Attorney of Victoria County. The complaint was based upon Van
27   Dyke’s violently racist views and his leadership within a white supremacist group being incompatible
28
     with being a public employee and a prosecutor in Texas – a state with the highest death penalty usage
     in the country.
            DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 2
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 1   an attorney, he frequently represents the Proud Boys and its leader Gavin McInnes in
 2
     legal disputes all across the country.
 3

 4         According to recent news reports, the FBI has classified the Proud Boys as a
 5   violent, ‘extremist’ hate group with ties to white nationalism. See attached Exhibit
 6
     One – The Guardian news article: FBI now classifies far-right Proud Boys as
 7

 8   ‘extremist group’; Exhibit Two – Huffington Post article: New Proud Boys Arrests
 9
     Highlight Far-right Gangs Ties To Fascists Groups; Exhibit Three – Report from the
10

11
     Clark Cty (Wash.) Sheriff’s Office; Exhibit Four – Southern Poverty Law Ctr report.

12         Van Dyke is extremely violent and threatening on social media. See attached
13
     Exhibit Five – a compilation of Van Dyke’s recent social media posts.
14

15         As a direct result of the March 8, 2018, decision by the Texas Board of
16
     Disciplinary Appeals to order the commencement of disbarment proceedings against
17

18
     Van Dyke, on March 28, 2018, Van Dyke filed a lawsuit in the 431st District Court of

19   Denton County, Texas, retaliating against Retzlaff seeking $100,000,000.00 in
20
     damages for libel, intrusion on seclusion, tortious interference with contract, and
21

22   intentional infliction of emotional distress. See attached Exhibit Six – the Texas
23
     lawsuit. As a part of that lawsuit, Van Dyke is seeking injunctive relief identical to
24
     that which he seeks in the instant lawsuit here in Arizona. See attached Exhibit Seven
25

26   – the Injunction Motion. This motion is currently pending before U.S. District Court
27

28


            DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 3
          Case 2:18-cv-04003-JJT Document 13 Filed 11/23/18 Page 4 of 18



 1   Judge Amos Mazzant of the Eastern District of Texas – Sherman Division in Case No.
 2
     4:18-cv-00247; Exhibit Eight – Van Dyke’s motion to set injunction for hearing.
 3

 4         Even before each of these lawsuits were filed against Retzlaff, Van Dyke had
 5   openly bragged that he had sued “everyone who has ever filed a formal grievance
 6
     against [him] with the State Bar:”
 7

 8

 9

10

11

12

13

14

15

16
           It appears Van Dyke was continuing his stated policy of “making your life a

17   living hell unlike anything you could imagine” when he filed the instant series of
18
     SLAPP lawsuits against Retzlaff simultaneously in Arizona and Texas.
19

20         As an assistant district attorney (and as an attorney licensed in four states who is
21
     also a leader and spokesman for a well-known white supremacist group), Van Dyke is
22
     a public official who has, or appears to the public to have, a significant role in the
23

24   business of government and public affairs. Courts have interpreted these criteria
25
     broadly, extending the public official classification to civil servants far down the
26

27   government hierarchy. For example, the supervisor of a county recreational ski center
28
     was held to be a “public official” for purposes of defamation law. See Rosenblatt v.
            DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 4
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 1   Baer, 383 U.S. 75 (1966). The idea that lawyers occupy a special role in society is
 2
     strong in the literature about the legal profession.2 Lawyers are often described as
 3

 4   leaders and public citizens who occupy special places of prominence within the
 5   community. 3
 6

 7                               III. ARGUMENT & AUTHORITIES
 8
            When an individual attempts to manipulate the legal system to intimidate and
 9

10   silence others who have used the system to vindicate their rights, the act threatens a
11
     core value of democracy – the right to petition the government to address a grievance.
12

13
     Laura Lee Prather and Justice Jane Bland, Bullies Beware: Safeguarding

14   Constitutional Rights Through Anti-SLAPP in Texas, 47 Tex. Tech L. Rev. 725, 727
15
     (2015).
16

17          A strategic lawsuit against public participation (SLAPP) is a lawsuit that is
18
     intended to censor, intimidate, and silence critics by burdening them with the cost of a
19
     legal defense until they abandon their criticism or opposition. The typical SLAPP
20

21   plaintiff does not normally expect to win the lawsuit. The plaintiff’s goals are
22

23
            2
                   See Alex B. Long, The Lawyer as Public Figure for First Amendment Purposes, 57
24
     B.C.L. Rev.1543 (2016).
25
            3
                    See Office of Lawyer Regulation v. Brandt (In re Disciplinary Proceedings Against
26   Brand), 766 N.W.2d 194, 202 (Wis. 2009) (noting that “[a]ttorneys are officers of the court and
     should be leaders in their communities and should set a good example for others”); ANTHONY T.
27
     KRONMAN, THE LOST LAWYER: FAILING IDEALS OF THE LEGAL PROFESSION 14–16
28   (1993) (discussing the idea of the “lawyer-statesman” who is a leader in the community).

            DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 5
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 1   accomplished if the defendant succumbs to fear, intimidation, mounting legal costs, or
 2
     simple exhaustion and abandons the criticism. A SLAPP may also intimidate others
 3

 4   from participating in the debate. A SLAPP is often preceded by a legal threat not
 5   unlike the ones Van Dyke’s has expressed via email or social media postings.
 6

 7

 8   A. This Action Is Governed By Texas Law
 9
           Due to Arizona choice-of-law provisions, the Texas Anti-SLAPP statute
10

11   (TCPA) is applicable to this case involving a plaintiff who claims Texas citizenship
12
     and who claims his injuries happened in Texas. Pounders v. Enserch E&C Inc., 306
13
     P.3d 9, 11-13 (Ariz. 2013); see, e.g., Clifford v. Trump, 2018 U.S. Dist. LEXIS
14

15   178688, *7-9 (C.D. of Calif. Oct 15, 2018) (applying TCPA to Calif. lawsuit involving
16
     Pres. Trump due to choice-of-law principals).
17

18         Arizona follows the Restatement’s “most significant relationship” test. See
19
     Bates v. Super. Ct., 749 P.2d 1367, 1369 (Ariz. 1988); Magellan Real Estate Inv. Tr. v.
20
     Losch, 109 F.Supp.2d 1144, 1155 (D. Ariz. 2000); Restatement (Second) of Conflict of
21

22   Laws. Under this test, the law of the state that has the most significant relationship to
23
     an issue governs that issue. In a tort claim, factors to consider include: “(a) the place
24

25   where the injury occurred, (b) the place where the conduct causing the injury occurred,
26   (c) the domicile, residence, nationality, place of incorporation and place of business of
27
     the parties, and (d) the place where the relationship, if any, between the parties is
28


            DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 6
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 1   centered.” Magellan, 109 F.Supp.2d at 1156 (quoting Restatement (Second) of
 2
     Conflict of Laws § 145).
 3

 4          Further, the Restatement (Second) Conflicts of Law supports this Court finding
 5   that Texas law applies. In defamation lawsuits involving “multistate communication,”
 6
     a court must apply “the local law of the state where the plaintiff has suffered the
 7

 8   greatest injury by reason of [his] loss of reputation,” which “will usually be the state of
 9
     the plaintiff’s domicile if the matter complained of has there been published.”
10

11
     Restatement (Second) of Conflict of Laws § 150 (1971).

12          Van Dyke states in his petition that he is a citizen and resident of Texas (Dkt. #
13
     1-1 at ¶1.1), that he lost employment and other job opportunities in Texas (at ¶3.1, 3.2,
14

15   3.4), and damage to his reputation in Texas (at ¶3.3), and suffered alleged “stalking”
16
     and “harassment” in Texas (at ¶3.5-3.13) and that he has suffered $100 million in
17

18
     damages in Texas (Exhibit Six at ¶6.1(b), (d)) – all as a result of Retzlaff’s alleged

19   actions – in Texas!
20

21

22   B. The Texas anti-SLAPP Statute Applies To This Legal Action
23
            The TCPA has been referred to as an “across-the-board gamechanger in Texas
24

25   civil litigation,”4 creating a sweeping dismissal mechanism that extends far beyond the
26

27          4
                    Serafine v. Blunt, 466 S.W.3d 352, 365 (Tex. App.—Austin 2015, no pet.)
28
     (Pemberton, J., concurring).


            DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 7
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 1   traditional aims of strategic lawsuits targeting First Amendment rights. One pair of
 2
     authors has called the TCPA the “broadest anti-SLAPP statute in the nation.” 5 The
 3

 4   TCPA applies to any “lawsuit, cause of action, petition, complaint, cross-claim, or
 5   counterclaim or any other judicial pleading or filing that requests legal or equitable
 6
     relief” that is based on or relates to a communication made in connection with a
 7

 8   “matter of public concern.” Tex. Civ. Prac. & Rem. Code § 27.001(3) (defining
 9
     “exercise of the right of free speech”) and (6) (defining “legal action”). A “matter of
10

11
     public concern” is defined expansively to include an issue related to such topics as

12   “health or safety”; economic or community “well-being”; and even a “good, product,
13
     or service in the marketplace.” Id., § 27.001(7) (defining “matter of public concern”).
14

15   See attached Exhibit Nine – Full text of the TCPA.
16
           The communication need not even be public to trigger the TCPA’s protection.
17

18
     Lippincott v. Whisenhunt, 462 S.W.3d 507, 509 (Tex. 2015). The TCPA also protects

19   a party’s exercise of the “right to petition” and the “right of association”— statutory
20
     terms that are defined much more broadly than their constitutional counterparts. See
21

22   Tex. Civ. Prac. & Rem. Code § 27.003(2), (4); see also Elite Auto Body LLC v.
23
     Autocraft Bodywerks, Inc., 520 S.W.3d 191, 202 (Tex. App.—Austin 2017, pet.
24
     dism’d) (“The Texas Supreme Court in Coleman seems to have put to rest any notion
25

26

27
           5
28
                  April Farris and Matthew Zorn, Law 360, “State Anti-SLAPP in Federal Court: An
     Update From Texas,” November 1, 2018.
            DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 8
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 1   that any constitutional connotations of ‘right of association,’ ‘right of free speech,’ or
 2
     ‘right to petition’ should inform the meaning of the TCPA’s corresponding ‘exercise
 3

 4   of’ definitions....”).
 5          In the lawsuits at hand (within this Court and within the E.D. of Texas), Van
 6
     Dyke is seeking to chill Retzlaff’s First Amendment rights when he admits facts in his
 7

 8   petition that shows that this lawsuit (styled as a “Petition for Injunction Against
 9
     Harassment”) is the direct result of (1) Retzlaff’s petitioning the government in the
10

11
     form of a grievance filed with the State Bar of Texas, and (2) his further petitioning the

12   government with regards to the qualifications (or complete lack thereof) Van Dyke has
13
     for the public office of Chief Felony Prosecutor in the Victoria County, Texas, District
14

15   Attorney’s Office, or (3) Retzlaff’s alleged communications to others in the
16
     community relating to the legal services offered by Van Dyke (an attorney) in the
17

18
     marketplace, or (4) Retzlaff alleged communications pertaining to a public figure /

19   public official on matters of public controversy. In an email dated October 19, 2018,
20
     to Retzlaff’s attorney, Van Dyke specifically states that this is his goal. See attached
21

22   Exhibit Ten.
23
            The fact that Van Dyke publicly lists his political views as “Fascist” on his
24
     Facebook account should give the Court pause when considering plaintiff’s request for
25

26   injunctive relief demanding that Retzlaff stop calling him a Nazi. See attached
27
     Exhibit Eleven – Van Dyke’s Facebook profile.
28


            DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 9
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 1   C. The TCPA Safeguards Substantive Rights
 2
           The TCPA uses procedural mechanisms to safeguard important substantive
 3

 4   rights. As the Ninth Circuit observed in reaffirming that California’s anti-SLAPP
 5
     statute is applicable in federal court:
 6
            Refusing to recognize [the limitations placed on SLAPPs by seven state
 7
            legislatures is] bad policy…. If we ignore how state legislatures have
 8          limited actions under their own laws, we not only flush away state
            legislatures’ considered decisions on matters of state law, but we also put
 9          the federal courts at risk of being swept away in a rising tide of frivolous
10          state actions that would be filed in our circuit’s federal courts.

11
     Makeoff v. Trump University, LLC, 736 F.3d 1180, 1181-87 (9th Cir. 2013).
12
           The reasoning of the courts finding state anti-SLAPP laws applicable in federal
13

14   court is consistent with the “outcome determination” test used in this circuit to
15
     determine whether a state rule or law is procedural or substantive. Cnty. of Orange v.
16

17
     United States Dist. Court, 784 F.3d 520, 528 (9th Cir. 2015). Under the outcome-

18   determination test, courts consider whether it would “significantly affect the result of a
19
     litigation for a federal court to disregard a law of a State that would be controlling in
20

21   an action upon the same claim by the same parties in a State court.” Gasperini v. Ctr.
22
     For Humanities, 518 U.S. 415, 427 (1996). That test, however, “must be guided by
23

24
     ‘the twin aims of the Erie rule: discouragement of forum-shopping and avoidance of

25   inequitable administration of the laws.’” Gasperini, 518 U.S. at 428; see also U.S. ex
26
     rel. Newsham v. Lockheed Missiles & Space Co., 190 F.3d 963, 972-73 (9th Cir. 1999)
27

28


           DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 10
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 1   (California’s anti-SLAPP statute furthered “substantive” interests and served dual Erie
 2
     purposes).
 3

 4         To safeguard these constitutional rights expeditiously and by cost-effective
 5   means, the TCPA gives defendants the power to resolve at an early stage whether a
 6
     legal action impinging on such rights has merit by filing a motion to dismiss
 7

 8   (commonly referred to as an “anti-SLAPP motion” or a motion to dismiss a “Strategic
 9
     Lawsuit Against Public Participation”). See Tex. Civ. Prac. & Rem. Code §27.003(a),
10

11
     (b). Once the motion is filed, all discovery is stayed in the legal action until the court

12   rules on the motion, which must occur within 60 days after the motion is served. See
13
     id. §§27.003(c), 27.004, 27.005. If the defendant is successful in dismissing the legal
14

15   action, the defendant is entitled to court costs, attorney fees, and other expenses
16
     incurred in defending against the action as justice and equity may require. Id.
17

18
     §27.009(a)(1). The court must also impose sanctions sufficient to deter the plaintiff

19   from bringing a similar action in the future. Id. §§27.007(a), 27.009(a)(2).
20
           To succeed on a motion to dismiss under the TCPA, the defendant must show by
21

22   a preponderance of the evidence that the plaintiff’s legal action is based on, related to,
23
     or in response to the defendant’s exercise of (1) the right of free speech, (2) the right to
24
     petition, or (3) the right of association. Tex. Civ. Prac. & Rem. Code §27.005(b);
25

26   Hersh v. Tatum, 526 S.W.3d 462 (Tex. 2017); ExxonMobil Pipeline Co. v. Coleman,
27
     512 S.W.3d 895 (Tex. 2017); In re Lipsky, 460 S.W.3d 579, 586 (Tex. 2015).
28


           DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 11
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 1           If the defendant meets its burden, the court must dismiss the plaintiff’s action
 2
     unless the plaintiff can either (1) establish that the challenged claim is exempt from the
 3

 4   TCPA, or (2) establish by clear and specific evidence a prima facie case for each
 5   essential element of the challenged claim. See Tex. Civ. Prac. & Rem. Code
 6
     §§27.005(c), 27.010; D Magazine Partners, L.P. v. Rosenthal, 529 S.W.3d 429 (Tex.
 7

 8   2017); In re Lipsky, 460 S.W.3d at 587. In evaluating a motion to dismiss, the court
 9
     must construe the TCPA liberally to fully effectuate its purpose and intent to
10

11
     encourage and safeguard a defendant’s constitutional rights. See Tex. Civ. Prac. &

12   Rem. Code §§27.002, 27.011.
13

14

15   D. Dismissal Of Van Dyke’s Legal Action Is Warranted Under The TCPA
16
             Van Dyke’s petition should be dismissed because it is clearly based on, related
17

18   to, or in response to Retzlaff’s exercise of his right of free speech. Under the TCPA, a
19
     defendant exercises his right of free speech when he makes a communication in
20
     connection with a matter of public concern. Tex. Civ. Prac. & Rem. Code §27.001(3);
21

22   Hersh, 526 S.W.3d at 466; ExxonMobil, 512 S.W.3d at 898; Lippincott, 462 S.W.3d at
23
     509.
24

25      In his petition, Van Dyke seeks an injunction prohibiting Retzlaff from:
26      a) Committing any act of harassment against Plaintiff or the other protected
27         persons, either through his own name, the use of a pseudonym (e.g. “Dean
           Anderson”), or on his “BV Files” website located at www.ViaViewFiles.net;
28


             DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 12
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 1      b) Having any contact with Plaintiff except through attorneys, legal process, court
 2
           hearings, and hearings of administrative agencies (e.g. State Bar of Texas;

 3      c) Having any contact with the other protected persons except through attorneys,
 4         legal process, court hearings, and hearings of administrative agencies (e.g. State
           Bar of Texas);
 5

 6      d) From going near 108 Durango Drive, Crossroads, TX 76227 or 13360
           Chittamwood Lane, Frisco, TX 75035 for any reason;
 7

 8      e) From having any contact with Plaintiff’s employers, persons or entities with
           whom Plaintiff has an independent contractor relationship, or any persons or
 9
           entities with whom Plaintiff has an attorney-client relationship; and,
10

11
        f) From having any contact with any employer of the other protected persons, or
           any other person or entity with whom the other protected persons have an
12         independent contractor relationship.
13

14
     See Petition at ¶5.1 (Dkt. # 1-1.)
15
           In construing the TCPA liberally (as this Court is required to do), these
16

17   allegations clearly fall within the scope of the TCPA because they are based on, related
18
     to, or in response to a communication made by Retzlaff on a matter of public concern.
19

20   Van Dyke’s fitness and qualifications for the job of felony prosecutor (let alone being
21   a member of the State Bar!), in light of his open and violently racist statements, is
22
     clearly a matter of public concern. See, e.g., recent news articles regarding Van Dyke
23

24   and the Proud Boys in attached Exhibits Thirteen – Sixteen. The same is true
25
     regarding Van Dyke’s claims that Retzlaff made statements to the KLM law firm and
26

27
     many others relating to legal services offered by attorney Van Dyke in the

28   marketplace. See, e.g., Deaver v. Desai, 483 S.W.3d 668, 673 (Tex. App. – Houston
           DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 13
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 1   [14th Dist.] 2015, no pet.) (website dedicated to criticism of attorney addressed the
 2
     attorney’s legal services which were offered on the public marketplace, and qualified
 3

 4   as a communication made in connection with a matter of public concern, i.e., the
 5   exercise of free speech within scope of TCPA); see also Avila v. Larrea, 394 S.W.3d
 6
     646, 655 (Tex. App. – Dallas 2012, pet. denied) (communication on television about
 7

 8   lawyer’s handling of cases was a matter of public concern because it related to
 9
     lawyer’s services in the marketplace).
10

11
           Van Dyke himself (whose recent arrest for filing false police reports garnered

12   international publicity 6) is a leader within the Proud Boys organization and frequently
13
     acts as their attorney. See, e.g., Vangheluwe v. Got News, LLC, et al., 2:18-cv-10542
14

15   (E.D. of Mich.) (Van Dyke is representing Proud Boys leader Gavin McInnes in a
16
     lawsuit related to the Charlottesville, VA “alt-right” march organized by members of
17

18
     the Proud Boys that led to several deaths and injuries last year).

19         Even taking Van Dyke’s claims as true, Retzlaff has a Constitutional right to
20
     contact Van Dyke’s employers, clients, potential clients, and the community at large,
21

22   about his racially charged online activities, or his fitness and qualifications for public
23
     office and being a member of the State Bar. The United States Supreme Court has
24
     determined in similar cases that speech like Retzlaff’s is protected. See Org for a
25

26

27

28
           6
                  Andy Campbell, Proud Boys Lawyer Arrested For Lying To Cops, Can Still Practice
     Law, The Huffington Post, September 19, 2018 – Exhibit 12.
           DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 14
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 1   Better Austin v Keefe, 402 US, 415, 417-419 (1971) (holding that First Amendment
 2
     protection applied to the distribution of leaflets even where those leaflets accused an
 3

 4   individual of racism, provided personal information about the person including his
 5   telephone number, and urged the recipients of the leaflets to contact him); see also
 6
     NAACP v Claiborne Hardware Co., 458 US 886, 909-910 (1982) (holding that
 7

 8   “[s]peech does not lose its protected character,” even where the speech involved
 9
     publicly listing the names of individuals that did not participate in a boycott, which
10

11
     undoubtedly was meant to lead to unconsented contact with those individuals, so as to

12   “persuade [them] to join the boycott through social pressure and the ‘threat’ of social
13
     ostracism.”).
14

15         At its very base, the exception to the First Amendment for incitement of
16
     imminent lawless action requires that the incitement be for actually illegal actions, not
17

18
     just inconvenient or aggravating ones. See id. “There is no categorical ‘harassment

19   exception’ to the First Amendment’s free speech clause.” Saxe v State College Area
20
     Sch Dist., 240 F3d 200, 204 (3rd Cir. 2001) (opinion by ALITO, J.). Here, the record
21

22   does not support that Retzlaff’s statements were intended to incite imminent lawless
23
     action. Keefe, 402 US at 417-419.
24
           What Van Dyke blithely characterizes as the “legal torts” of “harassment” and
25

26   “stalking” consists of Constitutionally protected petitioning of the government,
27
     engaging or participating in an economic boycott, and speech regarding a matter of
28


           DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 15
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 1   public concern that pertains to a public official / public figure who is embroiled in
 2
     numerous public controversies.
 3

 4          With regards to the rest of Van Dyke’s allegations, Retzlaff states in his attached
 5   affidavit that he has never had any contact at all with either Sandra Van Dyke or
 6
     Joshua Van Dyke. 7 See Retzlaff affidavit at ¶4.
 7

 8   E. Sanctions & Attorney’s Fees Under The TCPA Are Mandatory
 9
            The TCPA provides, in pertinent part:
10

11         (a) If the court orders dismissal of a legal action under this chapter, the court
               shall award to the moving party:
12

13         (1) court costs, reasonable attorney’s fees, and other expenses incurred in
               defending against the legal action as justice and equity may require;
14

15         (2) sanctions against the party who brought the legal action as the court
16
               determines sufficient to deter the party who brought the legal action from
               bringing similar actions described in this chapter.
17

18
     Tex. Civ. Prac. & Rem. Code § 27.009(a)(1)-(2) (emphasis added).
19

20          The award of attorney’s fees is mandatory. See Sullivan v. Abraham, 488
21
     S.W.3d 294, 299 (Tex. 2016); Cruz v. Van Sickle, 452 S.W.3d 503, 522 (Tex.App. –
22

23
     Dallas 2014, pet. denied). Further, because the TCPA requires an award of fees

24

25
            7
26                  The Texas Supreme Court has held that, under the TCPA, a defendant moving for
     dismissal need show only that the plaintiff’s “legal action is based on, relates to, or is in response to
27   the [defendant’s] exercise of . . . the right of free speech” – that is, “a communication made in
28
     connection with a matter of public concern” – not that the communication actually occurred. Hersh,
     526 S.W.3d at 467.
            DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 16
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 1   “incurred in defending against the legal action,” the award includes all fees incurred
 2
     from the inception of the dispute through its conclusion, not just those related to the
 3

 4   anti-SLAPP motion.
 5         The award of sanctions is mandatory. Under the TCPA, a successful movant is
 6
     entitled to sanctions “to deter the party who brought the legal action from bringing
 7

 8   similar actions described in this chapter.” Tex. Civ. Prac. & Rem. Code § 27.009(a)(2).
 9
     “[W]hen a legal action is dismissed under the TCPA, an award of sanctions against the
10

11
     party who brought the action is mandatory under section 27.009.” Rich v. Range Res.

12   Corp., 535 S.W.3d 610, 612-13 (Tex.App. – Fort Worth 2017, pet denied) (emphasis
13
     added); see also Serafine v. Blunt, 2017 WL 2224528, at *7 (Tex.App. – Austin May
14

15   19, 2017, pet. denied) (Section 27.009(a)(2) gives “the trial court broad discretion to
16
     determine an amount” of sanctions).
17

18
           As we have just seen in Clifford v. Trump, the TCPA not only applies in federal

19   court, but it applies to federal courts within the Ninth Circuit.
20

21

22          Respectfully submitted,
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24

25
     Dated: November 23, 2018                By:_____________________________________
26
                                             Thomas Retzlaff
27                                           Defendant, In Pro Per

28


           DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 17
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 1                               CERTIFICATE OF SERVICE
 2

 3          I certify that I delivered a true copy of this document to the pro se plaintiff, Jason Van

 4   Dyke, via 1st class US Mail to his address of record, 108 Durango Dr., Crossroads, TX 76227, on
 5
     November 23, 2018.
 6

 7

 8

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10
                                               By:_____________________________
11                                             Thomas Retzlaff
12
                                               Defendant, In Pro Per

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        DEFENDANT’S ANTI-SLAPP MOTION TO DISMISS AND FOR SANCTIONS- 18
